                                         Case 2:19-cv-00759-JCM-EJY Document 54 Filed 10/21/20 Page 1 of 2


                                    1   THE GALLIHER LAW FIRM
                                        Keith E. Galliher, Jr., Esq.
                                    2   Nevada Bar No. 220
                                    3   George J. Kunz, Esq.
                                        Nevada Bar No. 12245
                                    4   Kathleen H. Gallagher, Esq.
                                        Nevada Bar Number 15043
                                    5   1850 East Sahara Avenue, Suite 107
                                        Las Vegas, Nevada 89104
                                    6   Telephone: (702) 735-0049
                                    7   Facsimile: (702) 735-0204
                                        kgalliher@galliherlawfirm.com
                                    8   gkunz@lvlawguy.com
                                        kgallagher@galliherlawfirm.com
                                    9   Attorneys for Plaintiff
                                   10                                 UNITED STATES DISTRICT COURT
                                   11                                        DISTRICT OF NEVADA
1850 E. Sahara Avenue, Suite 107

 702-735-0049 Fax: 702-735-0204




                                   12
 THE GALLIHER LAW FIRM




                                         ANNA MARIE FRETELUCO,
    Las Vegas, Nevada 89104




                                                                                       CASE NO.: 2:19-cv-00759-JCM-EJY
                                   13
                                                               Plaintiff,
                                   14
                                                                                        STIPULATION TO EXTEND DATE TO
                                         v.
                                   15                                                   FILE A REPLY AND A RESPONSE
                                                                                        (FIRST REQUEST)
                                   16    SMITH’S FOOD AND DRUG CENTERS,
                                         INC., a foreign corporation; DOES 1-10;
                                   17    ROE CORPORATIONS 1-10, inclusive,

                                   18                             Defendants.
                                   19

                                   20          Plaintiff’s reply to Plaintiff’s Motion to Strike / Exclude Defendant’s Rebuttal Expert Mark

                                   21   L Winkler, MD. [ECF No. 48] is currently due on Tuesday, October 20, 2020. Counsel for the

                                   22   parties have agreed to extend the date for Plaintiff’s counsel to file the reply for one week – until

                                   23   October 27, 2020.

                                   24          Defendant’s response to Plaintiff’s Motion to Strike / Exclude Defendant’s Rebuttal Expert

                                   25   Lewis M. Etcoff, Ph.D. [ECF No. 52] is currently due on Thursday, October 29, 2020. Counsel for

                                   26   the parties have agreed to extend the date for Defense counsel to file the response for one week –

                                   27   until November 5, 2020.

                                   28
                                                                                         1
                                         Case 2:19-cv-00759-JCM-EJY Document 54 Filed 10/21/20 Page 2 of 2


                                    1
                                               IT IS HEREBY STIPULATED AND AGREED by and between KATHLEEN H.
                                    2
                                        GALLAGHER, ESQ., of THE GALLIHER LAW FIRM, Attorneys for Plaintiff ANNA MARIE
                                    3
                                        FRETELUCO, and JERRY S. BUSBY, ESQ., of the law firm COOPER LEVENSON, P.A.,
                                    4
                                        Attorneys for Defendant SMITH’S FOOD & DRUG CENTERS, INC., that the deadline for
                                    5
                                        Plaintiff’s to file a reply to Plaintiff’s Motion to Strike / Exclude Defendant’s Rebuttal Expert Mark
                                    6
                                        L Winkler, MD. (ECF No. 48) be extended for one week until October 27, 2020 and the deadline for
                                    7
                                        Defendant to file a response to Plaintiff’s Motion to Strike / Exclude Defendant’s Rebuttal Expert
                                    8
                                        Lewis M. Etcoff, Ph.D. (ECF No. 52) be extended for one week, until November 5, 2020.
                                    9
                                        DATED this 20th day of October, 2020.           DATED this 20th day of October, 2020.
                                   10

                                   11   THE GALLIHER LAW FIRM                           COOPER LEVENSON, P.A.
1850 E. Sahara Avenue, Suite 107




                                                                                        /s/ Jerry S. Busby
 702-735-0049 Fax: 702-735-0204




                                   12
 THE GALLIHER LAW FIRM




                                         _____________________________                  _________________________________
    Las Vegas, Nevada 89104




                                   13   Kathleen H. Gallagher, Esq.                     Jerry S. Busby, Esq.
                                        Nevada Bar Number 15043                         Nevada Bar No. 1107
                                   14   1850 E. Sahara Avenue, Ste. 107                 3016 West Charleston Blvd. - #195
                                   15   Las Vegas, Nevada 89104                         Las Vegas, Nevada 89102
                                        Attorney for Plaintiff                          Attorney for Defendant
                                   16

                                   17

                                   18                                                ORDER

                                   19
                                               IT IS SO ORDERED:
                                   20
                                                                                         ______________________________________
                                   21                                                    UNITED STATES MAGISTRATE JUDGE

                                   22                                                             October 21, 2020
                                                                                         DATED: ____________________________
                                   23

                                   24

                                   25

                                   26

                                   27

                                   28
                                                                                          2
